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 1         Money Judgment
 2         3) A sum of money equal to $100,000.00 in United States currency,
           representing the total amount of proceeds obtained as a result of the
 3         conspiracy and trafficking in counterfeit goods offenses.
 4         Upon the entry of this Order, the United States Attorney General (or a
 5 designee) is authorized to seize the above-listed assets subject to forfeiture,
 6 whether held by the defendant or by a third party, and to conduct any discovery
 7 proper in identifying, locating or disposing of the property subject to forfeiture, in
 8 accordance with 21 U.S.C. § 853, as incorporated by 18 U.S.C. § 981(a)(1)(C) and
 9 28 U.S.C. § 2461(c); and, 18 U.S.C. § 2323(b), and Fed. R. Crim. P. 32.2(b)(3).
10         Upon entry of this Order, the United States is authorized to commence any
11 applicable proceeding to comply with statutes governing third party rights,
12 including giving notice of this Order.
13         Pursuant to 21 U.S.C. § 853(n), as incorporated by 18 U.S.C. § 981(a)(1)(C)
14 and 28 U.S.C. § 2461(c); and, 18 U.S.C. § 2323(b), the United States will post
15 notice of this order on the official government internet site (www.forfeiture.gov)
16 for at least 30 consecutive days. The United States may also, to the extent
17 practicable, provide direct written notice to any person known to have alleged an
18 interest in the property that is the subject of the Preliminary Order of Forfeiture, as
19 a substitute for posted internet notice as to those persons so notified.
20         Any person, other than the above-named Defendant, asserting a legal
21 interest in the above-listed property may, within thirty (30) days of the final
22 posting of notice, or receipt of notice, whichever is earlier, petition the court for a
23 hearing without a jury to adjudicate the validity of his alleged interest in the
24 above-listed property, and for an amendment of the order of forfeiture, pursuant to
25 Fed. R. Crim. P. 32.2(6) and 21 U.S.C. § 853(n), as incorporated by 18 U.S.C. §
26 981(a)(1)(C) and 28 U.S.C. § 2461(c); and, 18 U.S.C. § 2323(b).
27         Any petition filed by a third party asserting an interest in the above-listed
28 property shall be signed by the petitioner under penalty of perjury and shall set


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